                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:16-CR-221-MOC-DCK

 UNITED STATES OF AMERICA,                         )
                                                   )
                   Plaintiff,                      )
                                                   )
    v.                                             )      ORDER
                                                   )
 DENNIS SWERDLEN,                                  )
                                                   )
                   Defendant.                      )
                                                   )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice And Affidavit” (Document No. 74) filed by David S. Rudolf, concerning Richard G. Lubin

on May 2, 2017. Mr. Richard G. Lubin seeks to appear as counsel pro hac vice for Defendant

Dennis Swerdlen. Upon review and consideration of the motion, which was accompanied by

submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice And Affidavit” (Document No. 74) is GRANTED. Mr. Richard G.

Lubin is hereby admitted pro hac vice to represent Defendant Dennis Swerdlen.

         SO ORDERED.


                                           Signed: May 2, 2017




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